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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

DECKERS OUTDOOR CORPORATION,
Plaintiff,
v.
XIE JI PING, et al.,

Defendants.

 

 

Case No. 18-cv-07675
Judge Edmond E. Chang

Magistrate Judge Young B. Kim

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on February 8, 2019 [54], in favor

of Plaintiff Deckers Outdoor Corporation (“Deckers” or “Plaintiff’) against the Defendants

Identified in Schedule A in the amount of seventy five thousand dollars ($75,000) per Defaulting

Defendant, and Plaintiff acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendant:

 

Defendant Name

Line No.

 

 

MRWANG

 

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THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

- to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 16th day of April 2019.

Respectfully submitted,

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Amy C. Ziegler VA ~
Justin R. Gaudio
RiKaleigh C. Johnson
Greer, Burns & Crain, Ltd.
300 South Wacker Drive, Suite 2500
Chicago, Illinois 60606
312.360.0080
312.360.9315 (facsimile)
aziegler@gbc.law
jgaudio@gbc.law
rohnson@gbc.law

Counsel for Deckers Outdoor Corporation

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 16th day of April 2019.

Given under by hand and notarial seal.

   

    

CAITLIN SCHLIE
Official Seal
Notary Public ~ State of Hinois
My Commission Expires Nov 20, 2024 -

    

Notary Public

State of Illinois
County of Cook
